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                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK



VIRGINIA L. GIUFFRE,

        Plaintiff / Counterclaim Defendant,

   v.                                              Case No. 19-cv-03377-LAP

ALAN DERSHOWITZ,                                   ORAL ARGUMENT REQUESTED

        Defendant / Counterclaim Plaintiff


                        PROFESSOR ALAN DERSHOWITZ’S
                   MOTION TO DISQUALIFY COOPER & KIRK PLLC

        For the reasons set forth in the accompanying memorandum of law, Defendant and

Counterclaim Plaintiff Alan Dershowitz (“Professor Dershowitz”) respectfully moves to

disqualify Cooper & Kirk PLLC from continuing to represent Plaintiff and Counterclaim

Defendant Virginia Roberts Giuffre in this action. Professor Dershowitz respectfully requests

that the Court hold oral argument on his Motion.
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                                        Respectfully submitted,

                                        ALAN DERSHOWITZ,

                                        By his attorneys,


                                        /s/ Howard M. Cooper
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                                        Christian G. Kiely (MA BBO # 684308) (pro hac vice)
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                                        /s/ Imran H. Ansari
                                        Arthur L. Aidala (S.D.N.Y. Bar No. ALA-0059)
                                        Imran H. Ansari (S.D.N.Y. Bar No. IHA-1978)
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Dated: November 18, 2020



                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via the Court’s electronic filing
system, and served to all counsel of record on November 18, 2020.

                                              /s/ Christian G. Kiely
                                              Christian G. Kiely




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